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     Attorneys for Defendant
 5
     CHURCHILL COUNTY
 6
                                UNITED STATES DISTRICT COURT
 7
 8                                     DISTRICT OF NEVADA

 9    MICHAEL ERWINE, an individual,                        CASE NO. 3:18-cv-00461-RCJ-WGC
10                                       Plaintiff,
                                                            NOTICE OF NON-OPPOSITION TO
11
      vs.                                                   PLAINTIFF’S MOTION FOR STAY
12                                                          PENDING APPEAL [ECF NO. 48]
      CHURCHILL COUNTY, a political subdivision
13    of the State of Nevada; and DOES 1 through 10
14    inclusive,

15                                      Defendants.
16
            COMES NOW Defendant, CHURCHILL COUNTY, by and through its attorneys of
17
18   record, Thorndal Armstrong Delk Balkenbush & Eisinger, and hereby provides notice that it

19   does not oppose the relief requested in Plaintiff’s Motion for Stay Pending Appeal [ECF No. 48].
20
            DATED this 28th day of May, 2019.
21
                                                  THORNDAL ARMSTRONG
22                                                DELK BALKENBUSH & EISINGER
23
                                                  By: / s / Katherine F. Parks
24                                                   Katherine F. Parks, Esq.
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28                                                   Churchill County



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                                       CERTIFICATE OF SERVICE
 1
 2          Pursuant to FRCP 5(b), I certify that I am an employee of THORNDAL ARMSTRONG DELK

 3   BALKENBUSH & EISINGER, and that on this date I caused the foregoing NOTICE OF NON-
 4
     OPPOSITION TO PLAINTIFF’S MOTION FOR STAY PENDING APPEAL [ECF NO.
 5
     48] to be served on all parties to this action by:
 6
 7          placing an original or true copy thereof in a sealed, postage prepaid, envelope in the

 8                  United States mail at Reno, Nevada.
 9     ✓    United States District Court, District of Nevada CM/ ECF (Electronic Case Filing)
10
     _____ personal delivery
11
12   ____   facsimile (fax)

13   _____ Federal Express/UPS or other overnight delivery
14   fully addressed as follows:
15
                                              Luke Busby, Esq.
16                                         316 California Ave., #82
                                               Reno, NV 89509
17                                           Attorney for Plaintiff
18
            DATED this 28th day of May, 2019.
19
                                                      / s / Sam Baker
20                                                  An employee of THORNDAL ARMSTRONG
21                                                  DELK BALKENBUSH & EISINGER

22
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